Case 4:22- ee RM Document 29 Filed 05/30/23 Page 1.0
Tee. ye

nied Sokes DWeistch Lyset

DES \ Soy at Roa ZOVICR vs a

ee . BR CEIVED

Coaniitl, | [wat
{Sox Bd Or pose

| Nihal Coe Walo\, ek Os)

DeCondanks _

Melton Bc Reconsrdes Oo

Of Deal ak of Foelwiiar \a3 act

(Gomes Vous dine Ce Se. eladsrawte poe soe

Cyv- ¢. Sale) ped Seevs CecOnsy Tdembton

dental ot pre\ualnan: aim chen celrel A |

fk le cace. ob ne Ope Com glows (> ot

CodIMKrEc Seas Tamche elrel Ag come’

Roe Aw Cease Leads Wer &S male on.

of tue fick se was V aswlgned fnak 8c
The. Mobion (poe. - \s) is conats ork ste:

hy npplacs Va Aye Ordec (Doe. a5 ak b, &

Pe Coc + Abe \Seu eck Plaats to Mean tina
Li Bee. WW awd § ‘coe | ta Docs WA Mean Ae

Yatag s Te elaiakitt ava _wolk Ynewd Awe
WISCanSHOe nec tabenk wrt \nex Lecmiale

Weck Neoy | yan seed Yo ce ler +o \nes:

"ASevack Sey (i. en, {we Sek Tuer \s ee

ae psy cocky scake!t “The. Word ‘ Gewal

iw Doc - LS aeCocras +e yer S gender \D
. te

Case 4:22-cv-00298-RM Document 29 Filed 05/30/23 Page 2 of 4 i
. |;

recipies tS Aran foun Kine Krrertcan Fone radctd

Asda.

Dieqansie. and Slotishtcal Manual of Mental Disee\oes (se

edn ore). Ane DsM-S foowses on The ~hteally 6

bentReaw |

Mskresss * Lerk \ouy Doms at nose. las expecence, Yi

an

tac Sag OJ AE \ve hres “pretc gence entit. durch a
Sex | Dem-S ab AS TA. “Dec. Wo aucdk 4e bol |

isSdaned
CJ
‘Seay,

Ane eet Anes An comed Bor Ae Areal platurt€€ |

not tou

wd |
her * Sex! | assianed ak Anteata, wok as S Comal cmasvebente

tn er geachec Ldenkd 4 ~

i
f
i

fr Vascnn AAd. Coord A\so moked * Platadtel MoM0S! |

VAC

A490 ons tn het Seconel mended Complaint coliaked

Xo \oc A\\egta denne ler to Hae Kilenusood Secace Renin

Ontk! aad, Lue wer ‘ requested Lada cite. mhkel } ip get

o€ ue same Chasacker cond \Yes Laat oststde Ave. issoes

W Wel Second Nmencked Comblatak.. (Sec. ae ab Re a)

Nagata, ‘ke CRP LASS Sane. Crock \heks isundecsood vilhak +e

Katabree Was ASSET ng ~ We Aatul DERM S Me

+ Boe.

Of. Comnp-e\ec Ke eeak \nee aS Lesa, Wyte ts Lonstatent
workin lace render Ddentih, gad Wo otk Lace Coce._of cS

S
lawedkk «  Allenyjood, (we OS° Torsan, XS a Male.

Anak \nosoes Vo Leona inmakeS » Ks tae Cove esos

prnorledsed, © Boe \nas Conraved 4p \ns ose PlatarreC ba

Mole ecisons Sigepue\n the pousent Aas Plabateee

nas peony,

wt
see reatedla accounted, lbok\y hy SE scaly aanch Sex wos" yy ey
Ci cqender wale waerakes ne va _sesalt (Doc. ad ok

—Q-
Case 4:22-cv-00298-RM Document 29 Filed 05/30/23 Page 3 of 4

Y u ‘
a . °C weckion.
2 a akele Sc2t-S ue Lats cs Heap “5.
Irene shenestag plaiakits_a a Mee paling : ote atts s 7
aasivion” Noo Women S oy So“ CRO? . AMY CA O .

| ipa A. cleo Awal Wes sé 2 Leanohe '
I . < ck a mtn wk ie A quantor

w
a _ Secsce
ins 22. _ 2! ee
_uceease In Te okm et Ye Con Creme anh rede My ates

¥€ RS

Pisnosbc og Womens ae tose, dvfiiesls 48
i CONN
A ple © ~ epst \ Ca cases es _Suphemsusted Nev thuak the ——

1 gQo\ks ~\
|pes AG a Women & no Gee Ae ATANS 4 So
kes a 6 ANte nates AD CBset

iy LWAMnorxres \yes fAS_ wit 1 CON “S “eed 5

| aC See Ss estas
RS Sa ALS S3e To pen. 200% }
Tre \utaatm weuacktan) 5 Skalloy = Pes,

contin ag Roe ius ae = =e ee ‘ oA 3

-~CN 7 Os OpOQo—

5 of Ae, “congas ef ene

tee

Kw . q na && Kehanea Ces
pede Mere genes (dents Bnd de lyons

Tee 1 Betac \yotse2a kof weas_ ROE sea Sy Sey

RACES endece

Tyan Csls eanaceaislig 8 ae

C medteol\ Gk Rceasag v ea he

ahine WAG Swanens POEOA 5 — GS,
nag geese. anh Sle ake the
a

Case 4:22-cv-00298-RM Document 29 Filed 05/30/23 Page 4 of 4;:

["
\

|
|
{y
|
L

ms “Th g_ 7

e\aintiK's dys procia awd Aisheess (See Atk. A), |
ack ok demas Pecthac \necr_ “to AK LARBOA iS consie bat wth _ |
Vain kiCe's Clakm Fok GOP celuses Ae Cros alee Wek !
ee Lemmolee ; on Wwe laste of \ec exbecnal genital |
dura oth, \ AW OpPoss OH Xe CSE, Hate s\re Se 2s ta

a i
Anis \ cose sit ad Mine Coach Teele Sst\inend ty _il Dec.
ads oak fn. 2 =

i
“Tae Couch (Wau Ce COMS ASS “ Cheaw. eecoc OC slag AM
Badec US S pnantCesl; dasa st. The Deec (doe! 22)
ALAS celte€ Dyn the ant’ of A ~ pateoubecs tana of
Aecwincl ogy ord tatonk and Hare Sheila \pe. reconstert.
LA Light bot tuts ebleck +o Coccech turak wscutns etsbawddue

UG
ee JE

Te afer Pins

